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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             )
                                                     )
                v.                                   )              Case No.: ________
                                                     )
DIANTE ARIK WILEY,                                   )              Hon. G. Michael Harvey
                                                     )
                                                     )
                 Defendant.                          )



 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Caitlin McGourty, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives being duly sworn, depose and state as follows:

       1.       I have been a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives (ATF) since February 2019. I am currently assigned to ATF’s Washington Field

Office. Prior to joining the ATF, I was a sworn police officer with the District of Columbia

Metropolitan Police Department (MPD) for approximately five (5) years. For two (2) of those

years, I was assigned to the Sixth District Crime Suppression Team. As a member of the Crime

Suppression Team, I was tasked with combatting violent crimes in the District of Columbia,

including but not limited to firearms and narcotics offenses.

       2.       Since joining the ATF, I have successfully completed numerous training programs

hosted by ATF, and other local, state, and federal law enforcement agencies and organizations

including the Federal Law Enforcement Training Center’s 12-week Criminal Investigator Training

Program and the 14-week ATF Special Agent Basic Training Program. As a law enforcement

officer, I have testified under oath and affirmed to applications of search warrants, arrest warrants



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and subpoenas.

       3.       Through my training and experience, as described above, I have become familiar

with the provisions of the federal firearms laws administered under Title 18 and Title 26 of the

United States Code, as well as controlled substance laws administered under Title 21 of the United

States Code. I have personally conducted and participated in investigations that have resulted in

the arrest and conviction of numerous individuals responsible for violations of the District of

Columbia Code and United States Code including, but not limited to, narcotics and firearms

offenses.

       4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

       5.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of Title 21 U.S.C. §

841(a); 18 U.S.C. § 922(a)(1)(A); 18 U.S.C. § 924(c)(1)(A); 26 U.S.C. § 5861(e); 26 U.S.C. §

5861(f); and 26 U.S.C. § 5861(j) have been committed by DIANTE ARIK WILEY.

                                      PROBABLE CAUSE

       6.       On April 17, 2019, at approximately 2:03 a.m., Officers with the Metropolitan

Police Department (MPD) conducted a traffic stop on a Hyundai vehicle bearing D.C. registration

NAT1632 in the 4000 block of 9th Street, Southeast (SE) because its headlights were not activated.

Inside of the vehicle was the driver, T.S., and DIANTE ARIK WILEY. A WALES/NCIC search

of the D.C. license plate revealed that T.S. was the registered owner of the vehicle.




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       7.       Officers obtained T.S.’ permission to search her vehicle. During the vehicle search,

law    enforcement      located     a   cardboard     box     in   the       trunk   stamped   with

“OUTDOORSPORTSUSA.COM.” Affixed to the box was a UPS 2nd Day Air shipping label

addressed to DIANTE ARIK WILEY. The following items were located inside the cardboard

box: 1 round of .223 ammunition, 1 AR15 platform lower parts kit, 1 9mm magazine, 1 rifle stock,

1 pistol grip, as well as additional miscellaneous firearm building parts.

       8.       Once the above-mentioned items were recovered, DIANTE ARIK WILEY

spontaneously claimed ownership of the box and ammunition, and stated that he was building a

rifle in Maryland. A WALES/NCIC search of DIANTE ARIK WILEY resulted in negative

results for any registration of ammunition, firearms, rifles, or the license to carry such items.

DIANTE ARIK WILEY was placed under arrest for possession of unregistered ammunition.

Officers confirmed through MPD that DIANTE ARIK WILEY did not have any type of

registration or license for firearms or ammunition in the District of Columbia.

       9.       Since then, law enforcement has continued to investigate DIANTE ARIK WILEY

regarding his involvement with firearms manufacturing, possession, and trafficking in the District

of Columbia. Law enforcement has executed several subpoenas and search warrants for DIANTE

ARIK WILEY’s social media accounts, email accounts, financial records, and purchase history

from firearms parts distributors.

       10.      Based on the obtained records, law enforcement discovered that WILEY had

engaged in over 200 individual transactions with the following firearms retailers/manufacturers:

All Shooters Tactical, 80PBuilder, Bayou Gun Runner, Bear Creek Arsenal, Brownell’s Inc.,

BUDK, World Inc., CBC Industries, Ceratac LLC., Cheaper Than Dirt, Delta Team Tactical,

EagleLite Inc., Full Metal Jacket, Genesis CNC, Ghost Firearms, Glockmeister, J&T Distributing,



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Luth-AR-LLC., Maryland Small Arms, Mid-South Arms LLC., Midway USA, New Frontier

Armory, NOVA Armory, Optics Planet Inc., Outdoor Sports USA, Rainier Arms LLC., SpecDive

Tactical, Survival Ops and Vienna Arsenal for a total purchase price of $48,425.64 worth of

firearms parts and accessories made by WILEY. Based on the obtained records, DIANTE ARIK

WILEY assembled working firearms from those parts and then offered the firearms for sale

through his social media account. Based on the obtained records, DIANTE ARIK WILEY has

sold dozens of firearms in this manner. Based on your Affiant’s investigation, some of these

firearms ended up in the hands of convicted felons or individuals who have committed violent

crimes.

          11.   In addition, law enforcement has continued to monitor DIANTE ARIK WILEY’s

public Instagram account “manofrespect.bino” and has observed several stories containing

additional firearms and narcotics. On or about February 28, 2021, DIANTE ARIK WILEY

posted the below image with the hashtag “#PROPGUNS”. However, based on your Affiant’s

training and experience with firearms and firearms related offenses, it is clear these firearms are

not “props,” they are real firearms capable of firing ammunition. This is known by your Affiant as

an operable firearm based off the image below. As clearly seen in the photo, there is an extended

clear plastic magazine containing live rounds of ammunition inserted into the magazine-well of

one of the three firearms.




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       12.     On or about March 12, 2021, law enforcement observed the below picture on the

left on DIANTE ARIK WILEY’s Instagram story. Based on the photograph with the caption “75

or don’t call me”, it is my understanding that DIANTE ARIK WILEY was offering to sell the

depicted marijuana for $75.00. On or about March 15, 2021, law enforcement observed a story

posted on DIANTE ARIK WILEY’s public Instagram account of himself driving around with a

prescription bottle of Promethazine-Codeine Syrup. The label of the prescription bottle was visibly

tampered with, indicating that DIANTE ARIK WILEY was in possession of a controlled

substance that is not prescribed to him. Later in the story, WILEY wrote “200 or don’t call me”

and “RUSH ME” over the video containing the same prescription bottle (as seen below in the

middle and right images). Both Marijuana and Promethazine-Codeine Syrup are controlled

substances under the Controlled Substances Act (CSA) and the sale of such substances is illegal.




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       13.     On or about March 30, 2021, DIANTE ARIK WILEY posted the below

photograph to his public Instagram account. Based on your Affiant’s training, knowledge and

experience, it is understood that DIANTE ARIK WILEY was informing his viewers that he had

raised the price for a fully automatic Privately Manufactured Firearm (PMF) built by him to

$2,500. According to the below post, this rise in price is a result of the pending changes to firearms

legislation, specifically PMFs also referred to as “ghost guns” or “80% lowers”.




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        14.      Law enforcement conducted surveillance on DIANTE ARIK WILEY on the

afternoon and evening of April 9, 2021. During that surveillance, law enforcement observed

DIANTE ARIK WILEY at 26 Staton Drive Upper Marlboro, MD 20774, and 12815 Staton Court

Upper Marlboro, MD 20774, loading items into a silver in color Infiniti M45 bearing Maryland

registration 8BV5906. After loading the items, DIANTE ARIK WILEY drove the vehicle to

various locations in the District of Maryland and the District of Columbia.

        15.      While conducting surveillance, law enforcement observed DIANTE ARIK

WILEY drive to a parking lot at 1523 Alabama Avenue SE Washington, D.C. 20032. At that

location, a law enforcement source made a controlled purchase of a firearm and marijuana from

DIANTE WILEY for $1,680. Law enforcement recovered both the firearm and the marijuana

from the source immediately after the controlled purchase.

        16.      The marijuana was in a sealed, commercial package from Proper dispensary in Los

Angeles, California. Specifically, the package was labeled “Jungle Boys Kush Mints” and noted

that it contained 3.5 grams of marijuana containing 33.40% Tetrahydrocannabinol (THC), the

active ingredient in marijuana.

        17.      The firearm was determined to be a black in color .223 caliber M-16 type Privately

Manufactured Firearm (PMF) with no serial number. The firearm was a visual match for firearms

posted for sale on DIANTE ARIK WILEY’s Instagram account. Upon initial inspection of the

firearm, there was a visible automatic sear pin hole located above the selector switch. Agents

conducted a field test for fully automatic capability on scene which yielded positive results 1. Based


        1
            A field test for fully automatic capability involves the following: with the magazine and all
ammunition removed from the firearm, the bolt or slide is pulled to the rear to release. The tester will then
pull the trigger and keep it depressed then pull the bolt or slide to the rear again. The trigger is then released
and pulled again. If the firing mechanism (hammer) does not fall when the trigger is pulled for the second
time, this is consistent with the firearm operating in the fully automatic mode.


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on initial appearance and field test, it is believed that this firearm is a machinegun and therefore

regulated under Title 26 U.S.C. § 5845, the National Firearms Act (NFA).

       18.     A machinegun is defined as “any weapon which shoots, is designed to shoot, or can

be readily restored to shoot, automatically more than one shot, without manual reloading, by a

single function of the trigger. The term also includes the frame or receiver of any such weapon,

any part designed and intended solely and exclusively, or combination of parts designed and

intended, for use in converting a weapon into a machinegun, and any combination of parts from

which a machinegun can be assembled if such parts are in the possession or under the control of a

person.”

       19.     DIANTE ARIK WILEY was removed from the silver Infiniti M45 and placed

under arrest. Search incident to arrest, law enforcement recovered a paper bag with four sealed,

commercial packages of marijuana from Proper dispensary in Los Angeles, California – including

a 3.5 gram package of “Jungle Boys Kush Mints” – identical to the package recovered from the

purchaser’s vehicle. In total, law enforcement recovered 14 grams of marijuana from the paper

bag. This amount, as well as the above-mentioned surveillance and investigation, illustrate that

DIANTE ARIK WILEY possessed the narcotics for distribution, and not for his sole possession.

       20.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, DIANTE ARIK WILEY violated 18

U.S.C. §922(a)(1)(A), which makes it a crime to engage in the business of importing,

manufacturing, or dealing in firearms, or in the course of such business to ship, transport, or receive

any firearm in interstate commerce without a license.




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        21.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, DIANTE ARIK WILEY violated 18

U.S.C. § 922(o), which makes it a crime to transfer or possess a machinegun.

        22.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, DIANTE ARIK WILEY violated 21

U.S.C. § 841(a)(1), which makes it a crime to distribute, or possess with the intent to distribute, a

mixture and substance containing a detectable amount of marijuana.

        23.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, DIANTE ARIK WILEY violated 18

U.S.C. § 924(c)(1)(A) and (c)(1)(B)(ii), which makes it a crime for any person who, during and in

relation to any drug trafficking crime, to carry a firearm, or who, in furtherance of a drug trafficking

crime, to possess a firearm.



                                        _____________________________________
                                        Special Agent Caitlin M. McGourty
                                        Bureau of Alcohol, Tobacco, Firearms and Explosives



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 10, 2021.



_________________________________________
G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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